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     [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]
14
     Attorneys for Plaintiff Federal Trade Commission
15

16                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18

19   FEDERAL TRADE COMMISSION,

20                 Plaintiff,
                                                      Case No. 3:23-cv-2880-JSC
21          v.
                                                      PLAINTIFF FEDERAL TRADE
22   MICROSOFT CORP.                                  COMMISSION’S FIRST SUPPLEMENT
                                                      TO ITS EXHIBIT LIST
23   and
                                                      Dept.: Courtroom 8
24   ACTIVISION BLIZZARD, INC.,                       Judge: Honorable Jacqueline Scott Corley
25                 Defendants.

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     PLAINTIFF FEDERAL TRADE COMMISSION’S FIRST SUPPLEMENT TO ITS EXHIBIT LIST
     CASE NO. 3:23-CV-2880-JSC
              Case 3:23-cv-02880-JSC Document 198 Filed 06/23/23 Page 2 of 3




1           Pursuant to the Court’s Order Regarding Evidentiary Hearing on Preliminary Injunction

2    Motion (Dkt. No. 76), Plaintiff Federal Trade Commission (“Plaintiff”) files the attached

3    redacted version of Plaintiff’s First Supplement to its Exhibit List as Exhibit A. This attached

4    Exhibit List supplements Plaintiff Federal Trade Commission’s Exhibit List (Dkt. No. 182).

5    Plaintiff’s First Supplement to its Exhibit List is designated as confidential pursuant to

6    Plaintiff’s concurrently filed Administrative Motion to Consider Whether Another Party’s

7    Material Should be Sealed. Plaintiff’s First Supplement to its Exhibit List identifies those

8    exhibits that Plaintiff reasonably expects a party to designate as confidential pursuant to Civil

9    Local Rule 79-5(f).

10          Plaintiff reserves the right to:

11          1.      Call a custodian of records or other similar witness of any party or non-party

12   from whom documents or records have been obtained to the extent necessary to establish the

13   authenticity or admissibility of documents;

14          2.      Introduce the native versions of any documents;

15          3.      Introduce an excerpt of an exhibit as appropriate;

16          4.      Supplement Plaintiff’s Exhibit List as appropriate;

17          5.      Supplement Plaintiff’s Exhibit List with any documents used as exhibits at any

18   depositions, along with the deposition transcripts, that occur after the service of Plaintiff’s

19   Exhibit List; and

20          6.      Introduce any other documents as exhibits in rebuttal.

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23   Dated: June 23, 2023                                   Respectfully submitted,

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25                                                          /s/ Jennifer Fleury
                                                            Jennifer Fleury
26                                                          Peggy Bayer Femenella
                                                            James Abell
27                                                          Cem Akleman
28
     PLAINTIFF FEDERAL TRADE COMMISSION’S FIRST SUPPLEMENT TO ITS EXHIBIT LIST
     CASE NO. 3:23-CV-2880-JSC
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             Case 3:23-cv-02880-JSC Document 198 Filed 06/23/23 Page 3 of 3



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2                                                  Nicole Callan
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3                                                  Kassandra DiPietro
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                                                   Commission
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     PLAINTIFF FEDERAL TRADE COMMISSION’S FIRST SUPPLEMENT TO ITS EXHIBIT LIST
     CASE NO. 3:23-CV-2880-JSC
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